        Case: 3:20-cv-00932-jdp Document #: 98 Filed: 03/28/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


JIM OLSON FORD LINCOLN, LLC,
KUNES COUNTRY FORD-LINCOLN, INC.,
LIDTKE MOTORS, INC., and Y & D CORP.
d/b/a DORSCH LINCOLN,
                                                                    Case No. 20-cv-932-jdp
                               Plaintiffs,
v.
FORD MOTOR COMPANY
d/b/a LINCOLN MOTOR COMPANY,

                               Defendant.


                                     NOTICE OF APPEAL


       NOTICE IS HEREBY GIVEN that the plaintiffs, Jim Olson Ford Lincoln, LLC, Kunes

Country Ford-Lincoln, Inc., Lidtke Motors, Inc., and Y & D Corp., d/b/a Dorsch Lincoln, hereby

appeal to the United States Court of Appeals for the Seventh Circuit from the U.S. District Court

for the Western District of Wisconsin’s judgment dated March 1, 2022 (Dkt. 97), as well as from

all other opinions, orders, and rulings that underlie that judgment, including but not limited to the

opinion and order entered on February 28, 2022 (Dkt. 96).

       DATED: March 28, 2022.

                                              BOARDMAN & CLARK LLP
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